            Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 1 of 15



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      :
                                               :
        v.                                     : No. 1:22-cr-00552 DLF-1
                                               :
                                               :
                                               :
KENNETH THOMAS                                 :

           DEFENDANT KENNETH THOMAS’ MOTION FOR
    TRANSFER OF THE CASE TO THE DISTRICT OF COLORADO WITH
    INCORPORATED MEMORANDUM OF POINTS AND AUTHORITIES

        COMES NOW Defendant, Kenneth Thomas, by and through undersigned

counsel, pursuant to Federal Rule of Criminal Procedure 21(a), hereby respectfully

moves this Honorable Court for the entry of an Order to transfer the proceedings to

the Northern District of Ohio. See Exhibit 1, Jury Survey (comparing similar

districts). 1

        As grounds, the following is stated:

                                     Background

        Mr. Thomas is charged in a ten count indictment for activities related to the

January 6, 2021, Capitol riot.

                                     ARGUMENT

        Both the Fifth and Sixth Amendments secure the right to trial by an

impartial jury. Const. amends. V, VI; see also Skilling v. United States, 561 U.S.




       The jury survey attached was created by an expert hired by the Office of the
        1

Federal Public Defender as an effort to assess the federal jury pool in the District of
Columbia. This motion to transfer venue is largely based on a similar motion filed
                                         -1-
        Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 2 of 15


358, 378 (2010). The importance of an impartial jury is fundamental to Due Process

and, notwithstanding constitutional venue prescriptions, when prejudice makes it

such that a defendant cannot obtain a fair and impartial trial in the indicting

district, the district court must transfer the proceedings upon the defendant’s

motion. Fed. R. Crim. P. 21(a); see also Skilling, 561 U.S. at 378.

      In some instances, the hostility of the venue community is so severe that it

gives rise to a presumption of juror prejudice. See Patton v. Yount, 467 U.S. 1025,

1031 (1984) (distinguishing between presumed venire bias and actual juror bias). As

recently as 2010, the Supreme Court reaffirmed the presumption approach

articulated in Patton and identified three factors to guide the lower courts in

determining whether a presumption should attach: (1) the size and characteristics

of the jury pool; (2) the type of information included in the media coverage; and (3)

the time period between the arrest and trial, as it relates to the attenuation of the

media coverage. Skilling, 561 U.S. at 378.

      Where it attaches, the Court has further recognized that the presumption of

prejudice overrides juror declarations of impartiality during voir dire because such

attestations may be insufficient to protect a defendant’s rights in particularly

charged cases. Murphy v. Fla., 421 U.S. 794, 802 (1975) (“Even these indicia of

impartiality might be disregarded in a case where the general atmosphere in the

community or courtroom is sufficiently inflammatory.”); see also Irvin v. Dowd, 366

U.S. 717, 728 (1961) (“No doubt each juror was sincere when he said that he would



in U.S. v. Joshua C. Doolin, 21-cr-447-CJN, U.S. v. Gieswein, 21-cr-24 (EGS), and in
U.S. v. Sean McHugh, 21-453 (JDB).
                                         -2-
        Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 3 of 15


be fair and    impartial to petitioner, but psychological impact requiring such a

declaration before one’s fellows is often its father.”). Indeed, on appeal of a denial of

a motion for change of venue, an appellate court need not even examine the voir

dire record if it finds that the presumption attached. Rideau v. Louisiana, 373 U.S.

723, 726-27 (1963) (“But we do not hesitate to hold, without pausing to examine a

particularized transcript of the voir dire examination of the members of the jury,

that due process of law in this case required a [transfer].”). Thus, under this

precedent, voir dire is simply not a cure for significant and substantiated Due

Process concerns about the jury pool.

      Each of those concerns is pressing in this case.

      A.      The Size and Characteristics of the District of Columbia Jury
              Pool Weigh in Favor of Finding a Presumption of Prejudice.

      The foundation for the presumption of prejudice is found in Rideau. 373 U.S.

at 727. In Rideau, the first factor that the Court weighed in favor of a finding of

prejudice was that about half of the small jury pool had been exposed to prejudicial

media reporting about the case. See Id. Despite the fact that voir dire revealed that

only three jurors had actually seen the broadcasts at issue, the Court found that the

share of the pool that was tainted was significant enough as to render the defendant

presumptively prejudiced. See Id.

      Because measuring the reach and impact of negative media reporting is

difficult, in applying Rideau, many courts have focused on population size and

diversity as a proxy for the share of the population that was likely impacted. For

example, in Skilling, the Court observed that while the number of Enron victims in

                                           -3-
        Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 4 of 15


Houston was higher than that of other crimes, it was far from universal, and

because Houston is the fourth-largest city in the United States, and is highly

diverse, a significant number of prospective jurors would have had no connection to

Enron whatsoever. Skilling, 561 U.S. at 358 (“[E]xtensive screening questionnaire

and followup [sic] voir dire yielded jurors whose links to Enron were either

nonexistent or attenuated.”).

      In contrast to Houston, the District of Columbia is one of the smaller major

US cities, with a population under 700,000.      And the impact of the events of

January 6 on the residents of the District of Columbia were far more widespread

than that of Enron in Houston, affecting a far greater share of residents than the

conduct at issue in Skilling.

      First, as the Court is no doubt aware, a huge proportion of District of

Columbia residents either work for the federal government themselves or have

friends or family who do. Specifically, as of September 2017, the U.S. Office of

Personnel Management reported that there are 600,000 federal civil workers and

annuitants in the greater DC area (excluding postal workers, Federal Bureau of

Investigation workers, and staff on several federal commissions). Nearly 200,000 of

those workers and annuitants are within the District itself. With a total population

of around 690,000, it seems clear that any given member of the District

jury pool has a greater likelihood of being closely connected to the federal

government than those in comparable metro areas. In fact, as of 2019, according to

the DC Policy Center, active federal employment (including postal workers)


                                        -4-
        Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 5 of 15


accounts for nearly a third of all jobs in the District itself.

And of course, for each federal worker, there are many friends and family members

who are closely connected to the federal government by proxy.

       In particular, nearly 15,000 individuals work for Congress directly, and many

more residents have friends and family who do. Another large share are in, or have

friends and family in, the many law enforcement groups who took part in

responding to January 6. This means that an enormous share of District of

Columbia residents have significant and unique connections with individuals or

institutions that were affected by January 6. Such connections are not likely to be

present in any other comparable district. The government has characterized the

events of January 6 – including the allegations against Mr.Thomas (18 U.S.C. §

1752(a)(1) & (a)(2)) – as an attack on our elections, government institutions

generally, and democracy as a whole, suggest that those District residents closely

connected to the government are more likely to view themselves as the direct

victims of the events.

       Second, even District residents that have no direct connection to the

government reported feeling deeply traumatized by the events that took place so

close to where they live and work. For example, one DC resident shared in an

interview that:

              I have not been able to digest any of the atrocities that took
              place last night here in Washington, D.C., you know,
              literally eight blocks away from my front door[.] I’ve been
              having a lot of conversations with people this morning,
              loved ones. We’re all hurting. We’re terrified. We’re in
              shock. And I think it's going to take a while. This is by far

                                            -5-
        Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 6 of 15


             the darkest moment of my 45-year existence.     2


      Such accounts are typical of those gathered in interviews in the days

following January 6th, during which the Mayor declared a state of emergency,

implemented a city-wide curfew, restricted access to particular roads and bridges,

and requested that residents not attend inauguration. District neighborhoods

became occupied by the Metropolitan Police and over 25,000 military personnel in

the weeks that followed. Indeed, a local subsidiary of the national public

broadcasting network, DCist, reported that:

             Residents have rescheduled medical appointments or
             switched up their bike and run routes to steer clear of
             downtown D.C. or the Capitol complex. Others say they are
             avoiding speaking Spanish in public or buying items like
             baseball bats for personal protection. Some are making
             plans to leave the city for inauguration. And many have
             feelings of anger, sadness, and heightened anticipation for
             the near future. […] Some residents are also worried that
             a stepped up military and police presence in the city may
             only add to their unease. 3

      Moreover, as the Court is no doubt aware, the effects of these events continue

to be felt in the District. Indeed, District residents reacted with fear in anticipation

of protests planned for September of 2020 that were intended to show support for

individuals detained in connection with prosecutions arising from the events of




2
  D.C. Resident Who Gave BLM Protesters Refuge Condemns 'Atrocities' at U.S.
Capitol, CBC (Jan. 7, 2021), https://www.cbc.ca/radio/asithappens/as-it-
happensthursday-edition-1.5864816/d-c-resident-who-gave-blm-protesters-refuge-
condemnsatrocities-at-u-s-capitol-1.5864894.
3
  Jenny Gathright and Rachel Kurzius, What It Feels Like to Live Under D.C.’s
State of Emergency, DCist (Jan. 13, 2021), https://dcist.com/story/21/01/13/dc-state-
ofemergency-residents/
                                        -6-
        Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 7 of 15


January 6. For example, the New York Times ran a piece titled “Washington, D.C.

On Edge Over January 6 Protests,” 4 and the Associated Press similarly reported

“In Edgy Washington, Police Outnumber Jan 6 Protestors,” capturing the District’s

overall tenor and response to these ongoing demonstrations. 5

      Third, an overwhelming number of District of Columbia residents — over 92

percent — voted for President Biden. According to the government’s theory of the

case, Mr. Thomas and the others charged in connection with January 6 did what

they did in order to prevent Joseph Biden from becoming President notwithstanding

his share of the electoral and popular vote. That is, the government’s theory is that

Mr. Thomas and others were seeking to nullify the votes of an overwhelming

majority of District residents   – in the only national election in which District

residents have any say, given their lack of representation in Congress. See, e.g.,

Castanon v. United States, 444 F. Supp. 3d 118, 139 (D.D.C. 2020) (“Article I

contemplates that only ‘residents of actual states’ have and may exercise the House

franchise”) (citing Adams v. Clinton, 90 F. Supp. 2d 35, 47 (D.D.C.), aff’d sub nom.

Alexander v. Mineta, 531 U.S. 940 (2000)), reconsideration denied, No. CV 18-2545,

2020 WL 5569943 (D.D.C. Sept. 16, 2020), aff’d, No. 20-1279, 2021 WL 4507556

(U.S. Oct. 4, 2021). Finally, the government, the media, and even judges in this

division speak of these prosecutions as designed to prevent “another January 6,”


4
  Jonathan Weisman and Matthew Rosenberg, Washington, D.C., on Edge Over
Protest of Jan. 6 Arrests, N.Y. Times (Sept. 18, 2021),
https://www.nytimes.com/2021/09/18/us/politics/capitol-sept-18-rally.html
5
  Associated Press, In Edgy Washington, Police Outnumber Jan. 6 Protesters, US
News (Sept. 18, 2021), https://www.usnews.com/news/politics/articles/2021-09-
18/police-say-theyre-ready-for-rally-supporting-jan-6-rioters.
                                         -7-
        Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 8 of 15


and District of Columbia residents know that a repeat of January 6 can only take

place in their home. As such, the residents of the District sitting as jurors are highly

likely to view Mr. ThomasA not only as someone who victimized them, but also as

someone who might victimize them again in the future, raising a concern about

punishing for propensity.

       Given the electoral makeup of the District, it would be impossible to empanel

a jury that was not full of people that the government charges were the targets of

Mr. Thomas’s alleged offenses. Cf. Mu’Min v. Virginia, 500 U.S. 415, 429 (1991)

(the

population of the greater metro area, including Virginia and Maryland, was large

enough to not support an inference of prejudice by media reporting). Thus, though

significantly more populous than the pool in Rideau, for example, Mr. Thomas

submits that the impact of the events of January 6 was felt by a far greater

proportion of the residents and felt much more personally and viscerally. The events

of January left those residents—and therefore the jury pool—neither impartial nor

indifferent.

       B.      The Nature and Volume of National and Local Media Coverage
               Weigh in Favor of Finding That There is a Presumption of
               Prejudice Because of Greater Saturation and Impact at the
               Local Level.

       Where pervasive pretrial publicity has “inflamed passions in the host

community” and “permeat[es] the trial setting . . . [such] that a defendant cannot

possibly receive an impartial trial,” the district court must presume local prejudice

and transfer the proceeding. United States v. Quiles-Olivo, 684 F.3d 177, 182 (1st

                                          -8-
        Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 9 of 15


Cir. 2012); see also Sheppard v. Maxwell, 384 U.S. 333, 362 (1966) (“Due [P]rocess

requires that the accused receive a trial by an impartial jury free from outside

influences.”). This is especially true where publicity is both extensive and

sensational in nature. Quiles-Olivo, 684 F.3d at 182. That said, observing that

“prominence does not necessarily produce prejudice, and juror impartiality does not

require ignorance,” the Supreme Court has repeatedly rejected claims of prejudice

that rely exclusively on negative but dispassionate media reporting. Skilling, 561

U.S. at 358 (citing Irvin, 366 U.S. at 722). Something more, such as charged

rhetoric or the reporting of gruesome details, is needed to establish prejudice. See

id. (rejecting the argument that media coverage was prejudicial where “media

coverage, on the whole, had been objective and unemotional, and the facts of the

case were neither heinous nor sensational.”). The Court has repeatedly recognized

that   “something   more”   exists   when      the   media   coverage   is   particularly

inflammatory, and where it pervades the court proceedings. See Murphy, 421 U.S.

at 799 (1975) (“In those cases the influence of the news media, either in the

community at large or in the courtroom itself, pervaded the proceedings”); see also

id. (“[P]roceedings in these cases were entirely lacking in the solemnity and sobriety

to which a defendant is entitled”). Finally, the problematic media must either be

local in distribution, or must have greater local saturation or impact than in other

districts; otherwise, there is no disparate prejudicial effect between different

(comparable) venues.

       For example, in Skilling, the defendant cited to hundreds of media reports


                                         -9-
       Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 10 of 15


about the Enron scandal in his motion for a transfer of venue. 561 U.S. at 358. He

argued that as the former Chief Executive Officer, such articles necessarily

implicated him by proxy, if not directly. See id. The Court disagreed, referencing its

earlier opinions concerning the modern ubiquity of news media, and reiterating its

former conclusion that volume does not, on its own, create prejudice. See id. at 382.

Rather, it is sensationalism of the type that would be easily remembered—not an

objective reporting of the facts—that was found to be prejudicial in prior cases

before the Court. Id. at 381. The Court observed that the stories that Skilling cited

about Enron contained “no confessions, no blatantly prejudicial information,” and

were “largely objective and unemotional.” Id. at 370-71, 382 (observing that

none of the reports “invited prejudgment of his culpability”). As such, the Court held

that it was inappropriate to apply a broad presumption of prejudice.

      Here, in a city still feeling the impacts described supra, the pre-trial

publicity—both national and local–has only served to enhance and sustain the

effects and by extension, sentiments about the participants. The volume, depth of

coverage, and duration of the reporting about January 6 has been almost entirely

unprecedented, perhaps only comparable to the reporting following September 11.

And viewers who identified as Democrats—like most of the District population —

were 20% more likely to have reported hearing “a lot” about the events than those

who identify as Republicans. It has also been sensational, including the repeated

showing of select snippets of photographic and video footage appearing to show the

destruction of the Capitol property and officers in distress. Indeed, some of these


                                         -10-
       Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 11 of 15


officers have testified before Congress about their experiences that may or may not

have been representative of the whole—testimony that was also widely circulated in

print and through video.

      The language used in media coverage of the events of January 6 and of the

defendants involved in those events has been especially charged and inflammatory.

Reporters and their interviewees, including members of Congress, consistently refer

to the defendants as “insurrectionists,” “rioters,” “seditionists,” “domestic terrorists”

“white supremacists” and “criminals” in the media. For example, in late January,

President Biden referred to those involved in the January 6 events as “a group of

thugs, insurrectionists, political extremists, and white supremacists.” Similarly,

representative Cori Bush called the January 6 incident “a white supremacist

insurrection” and a “domestic terror attack.” 6 The coverage of the scene itself has

also been sensationalist, relying on gruesome details in click-bait headlines to

galvanize the public.

      This is hardly comparable to the “unemotional” reporting on Enron’s collapse

and the white collar crime allegations against its management as described by the

Court in Skilling. 561 U.S. at 371-72, 382.

      Additionally, much of the early reporting has since been shown to be factually

inaccurate. For example, immediately following the events of January 6, President

Biden, among other high-profile individuals, claimed that January 6 protestors




6
 Rep. Cori Bush Calls Trump ‘White Supremacist-in-Chief', NBC4 Washington (Jan.
13, 2021), https://www.nbcwashington.com/news/national-international/rep-cori-bush-
calls-trump-white-supremacist-in-chief/2540892/.
                                         -11-
       Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 12 of 15


killed Officer Brian Sicknick, and he repeated the claim months after it became

clear that there was no basis for it. Even the official press release stated that:

             Officer Brian D. Sicknick passed away due to injuries sustained while
             on-duty. Officer Sicknick was responding to the riots on Wednesday,
             January 6, 2021, at the U.S. Capitol and was injured while physically
             engaging with protesters. 7

      These claims were widely circulated and did reputational damage to

defendants before the medical examiner quietly reported—more than four months

later—that Officer Sicknick died of two strokes, and that he sustained no internal

or external injuries from his exposure to chemical spray on January 6. The often

repeated but wrong claim that protesters killed this officer could be especially

prejudicial to Mr. Thomas, who also stands accused of assaulting police officers.

      The saturation of this charged and inflammatory reporting in the District is

so substantial that it would be surprising to identify any potential jurors who have

not been exposed to the coverage. And although some in the jury pool may not have

heard of Mr. Thomas specifically, his presence at the Capitol that day will

necessarily cause prospective jurors to link his conduct to the January 6 reporting

generally. And as the Court found in Rideau, “[a]ny subsequent court proceedings in

a community so pervasively exposed to such a spectacle could be but a hollow

formality.” 373 U.S. at 726.

      Finally, the media has widely reported comments of U.S. District Court

Judges in this District regarding the events of January 6. For example, in


7
 Press Release: Loss of USCP Officer Brian Sicknick, United States Capitol Police (Jan.
7, 2021) (emphasis added), https://www.uscp.gov/media-center/press-releases/loss-uscp-
colleague-brian-d-sicknick.
                                         -12-
        Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 13 of 15


comments that were widely reported, a judge stated that “everyone participating in

the mob contributed to [the January 6] violence,” and went on to conclude that

“[m]embers of a mob who breach barriers and push back officers to disrupt the joint

session of Congress are not trespassers, they are criminals.” 8 There is no doubt that

more than only District residents were exposed to these comments, which were in

effect legal conclusions about every January 6 defendant who will go before a jury in

this District. However, while the media coverage of these comments, among others,

may not create disparate prejudice between the District jury pool and other jury

pools by nature of its national broadcast, it does create disparate prejudice at

the venue itself: because the comments were made by a member of the same court

that is expected to provide instructions on burdens of proof and the presumption of

innocence—instructions that are in direct conflict with the declarations that those

involved are “criminals”—there is a serious question as to whether the earlier

comments will be disregarded in favor of the instructions that carry precisely the

same institutional authority. Thus, by members of this Court commenting on guilt

prior to trial, this venue is necessarily tainted.

      C.     The Timing of the Proceedings Weighs in Favor of Finding a
             Presumption of Prejudice.

      Finally, in determining whether any prior prejudice has been mitigated by

the passage of time, the Supreme Court has considered the years between the

exposure of the offense conduct and the trial. For example, in Skilling, the Court




8
 ‘Almost Schizophrenic’: Judge Rips DOJ Approach to Jan. 6 Prosecutions, Politico
(Oct. 28, 2021) (emphasis added), https://www.politico.com/news/2021/10/28/almost-
                                           -13-
       Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 14 of 15


found that because more than four years had passed between the Enron scandal

and the defendant’s trial, “the decibel level of media attention diminished somewhat

in the years following Enron’s collapse,” and any exposure to the early reporting

would have become attenuated. Skilling, 561 U.S. at 383.

      Here, in the 21 months since January 6, 2021, media reporting about the

events of January 6th remains at an all-time high. This has been especially true in

recent months, given the high-profile House Select Committee activities focused on

investigating the events, as well as several other high-profile January 6th trials (and

sentencings) occurring in this Courthouse. Additionally, many documentaries that

include extensive footage of the day have been released—footage that would likely

be offered into evidence by the prosecution at trial. For example, HBO released a

feature-length Four Hours at the Capitol in late October, 2021, which includes one

of the most widely-circulated videos from that day: the breaking of a Capitol

window.   9   There is no reason to think that coverage will wane before Mr. Thomas’s

January 2023 trial, especially given the recent activities of the Select Committee

and the several other January 6th trials – and sentencings.

      Interest in the events of January 6, 2021, has been high since that day, and it

has not waned in the District in the short time since. As such, the timing of the

proceedings weighs in favor of a finding of presumed prejudice.



schizophrenic-judge-rips-doj-approach-to-jan-6-prosecutions-517442; see also Fischer et
al., supra note 16.
9
  Four Hours at the Capitol, HBO (Oct. 4, 2021); see also Day of Rage: How Trump
Supporters Took the U.S. Capitol at 18:17-21, N.Y. Times (June 30, 2021),
https://www.nytimes.com/video/us/politics/100000007606996/capitol-riot-trump-
supporters.html.
                                           -14-
       Case 1:21-cr-00552-DLF Document 46 Filed 12/15/22 Page 15 of 15


                                   CONCLUSION

      WHEREFORE, for the foregoing reasons and such other reasons that may

appear just and proper, Mr. Thomas requests this Court to grant this motion and

transfer the case to the District of Colorado.

.

Dated: December 15, 2022



                                                 Respectfully submitted,

                                           Joseph R. Conte Digitally signed by Joseph R. Conte
                                                           Date: 2022.12.15 16:07:44 -05'00'
                                                 ____________________________
                                                  Joseph R. Conte, Bar #366827
                                                  Counsel for Kenneth Thomas
                                                  Law Office of J.R. Conte
                                                  8251 NW 15th Ct.
                                                  Coral Springs, FL 33071
                                                  Phone:       202.236.1147
                                                  Email:       dcgunlaw@gmail.com




                                          -15-
